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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  WORD APE, LLC d/b/a CHOMCHOM                     :    Document Filed Electronically
  ROLLER,                                          :
                                                   :
                                 Plaintiff,        :    Civil Action No. 21-14431-MCA-MAH
           v.                                      :
                                                   :    Madeline Cox Arleo, U.S.D.J.
  ONTEL PRODUCTS CORPORATION and                   :    Michael A. Hammer, U.S.M.J.
  LING FUN TRADING, LTD.,                          :
                                                   :
                                 Defendants.       x

                       [Proposed] ORDER FOR MOTION TO DISMISS
                       DEFENDANTS’ AMENDED COUNTERCLAIMS
          THIS MATTER having come before the Court on the application of Plaintiff Word Ape,

 LLC d/b/a ChomChom Roller (“Plaintiff”) by and through its attorney of record herein, seeking

 entry of an Order, pursuant to Fed. R. Civ. P, 12(b)(6), to dismiss the three Amended

 Counterclaims (ECF No. 16, at 13-16); and it appearing that:

          The Court having considered all papers submitted in support of and in opposition to this

 motion, and having heard the arguments of counsel, if any, and for good cause shown;

          It is hereby ORDERED that Plaintiff’s motion is GRANTED.



 SO ORDERED:

 Dated:
          Newark, New Jersey                           Madeline Cox Arleo, U.S.D.J.




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